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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                        CR 12-82-GF-BMM

                    Plaintiff,                           ORDER

 vs.

 BILLIE JOE BULLSHIELDS,

                    Defendant.

       This case was referred to United States Magistrate Judge John Johnston for a

revocation hearing and findings and recommendations. Judge Johnston entered his

findings and recommendations on August 24, 2015. Defendant admitted she had

violated Standard Condition 6 of her supervised release by failing to notify her

probation officer of a change in employment, she had violated Standard Condition

6 of her supervised release by using methamphetamine, and she had violated

Special Condition 5 of her supervised release by consuming alcohol. Judge

Johnston found the admissions sufficient to establish the supervised release

violations. He recommended that this Court revoke Defendant's supervised release

and commit her to the custody of the United States Bureau of Prisons for a term of

imprisonment of six months, with 24 months of supervised release to follow.

       No objections were filed by either party. Judge Johnston’s findings
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and recommendations are therefore reviewed for clear error. McDonnell

Douglas Corp. Commodore Bus. Mach, Inc., 656 F.2d 1309, 1319 (9th Cir.

1981).

      This Court agrees with Judge Johnston’s findings. Defendant admitted she

had violated Standard Conditions 6 and 7, and Special Condition 5. Defendant

could be incarcerated for up to 36 months, followed by 48 months of supervised

release less any custody time imposed. The United States Sentencing Guidelines

call for a term of imprisonment of four to ten months. A sentence of six months in

custody, followed by 24 months of supervised release is appropriate. The sentence

is sufficient but not greater than necessary.

         IT IS ORDERED that Judge Johnston’s Findings and Recommendations

(Doc. 206) are ADOPTED in full and Judgment shall be entered accordingly.

      DATED this 14th day of September, 2015.




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